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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

HALLIBURTON ENERGY SERVICES, INC.,
HALLIBURTON US TECHNOLOGIES, INC.,
HALLIBURTON GROUP TECHNOLOGIES, INC.,
AND
HALLIBURTON TECHNOLOGY PARTNERS, LLC
                                              CASE NO. 6:22-CV-00905-ADA
                  PLAINTIFFS,
                                                 JURY TRIAL DEMANDED
  v.

U.S. WELL SERVICES, LLC,
PROFRAC SERVICES, LLC,

                  DEFENDANTS.



 HALLIBURTON’S REPLY TO DEFENDANTS’ OPPOSITION TO MOTION FOR
 PARTIAL SUMMARY JUDGMENT OF NO INVALIDITY [DKT. 254, DKT. 286]
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I.      INTRODUCTION

        ProFrac’s opposition (Dkt. 286) misstates the law and the facts. The on-sale bar does not

apply where the product does not embody the claim elements, as is the case here, as reflected by a

complete absence of any data about the fatigue limit and tensile stresses of the alleged fluid ends.

ProFrac’s response ignores the well-settled exception to the on-sale bar that applies to secret sales

by third parties.



               And the lack of fatigue limit and tensile stress data for these fluid ends underscores

the deficiencies. The Court should grant Halliburton’s motion for partial summary judgment of

no invalidity based on the GDEP/SLB fluid ends.

II.     ARGUMENT

        A.      The on-sale bar does not apply where the product does not embody the claim
                elements

        The Federal Circuit is clear that a product that does not embody all elements of the claim

cannot present an on-sale bar. In ResQNet, the Federal Circuit noted that alleged prior art product

“did not embody all of the elements of claim 1 of the [asserted patent]” and consequently “did not

constitute prior art.” ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860 at 867. Even ProFrac

acknowledged this as the law when it stated: “… ResQNet held the on-sale bar did not apply

because the product offered for sale did not embody all claim elements—not because the offer for

sale was by a third party.” Dkt. 286 at 4.

        Here, the facts are undisputed. Not a single document shows whether the allegedly on-sale

fluid ends had a fatigue limit at all or whether they had a fatigue limit of at least 75 ksi, as required

by claim 1 of the ’333 Patent. Similarly, not a single document shows if the allegedly on-sale fluid




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       promptly files a patent application from which the public will gain a disclosure of
       the process, the law favors the latter.

W.L. Gore & Assocs., Inc., 721 F.2d at 1550 (emphasis added).



                                       ProFrac faults Halliburton for “relying on one sentence of

dicta in ResQNet, plucked from a footnote in Caveney,” (see Dkt. 286 at 3) but ProFrac forgets

that the Federal Circuit unambiguously noted the law in ResQNet and in Caveney:

       An offer for sale, sale, or public use, if more than one year before the patent
       application was filed, will bar patenting of the product, even if the sale was not
       authorized by the patentee. See In re Caveney, 761 F.2d 671, 675 (Fed. Cir. 1985)
       (“[S]ales or offers by one person of a claimed invention will bar another party from
       obtaining a patent if the sale or offer to sell is made over a year before the latter's
       filing date. An exception to this general rule exists where a patented method is kept
       secret and remains secret after a sale of the unpatented product of the method. Such
       a sale prior to the critical date is a bar if engaged in by the patentee or patent
       applicant, but not if engaged in by another.”) (citations omitted). As the court
       explained in Caveney, “The ‘on sale’ provision of 35 U.S.C. § 102(b) is directed
       at precluding an inventor from commercializing his invention for over a year
       before he files his application. Sales or offers made by others and disclosing the
       claimed invention implicate the ‘public use’ provision of 35 U.S.C. § 102(b).” Id.
       at 675 n. 5.

ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 866 (Fed. Cir. 2010).


ProFrac relies on FMC Technologies, but even that case does not support ProFrac’s argument.

There, a court in the Southern District of Texas noted that “[t]he Federal Circuit explained that

such secret sales prior to the critical date are not a bar if made by a non-inventor, but explained

further that the sale is not a ‘secret’ sale for purposes of the exception if the claimed invention

was disclosed to the purchaser in the sales transaction.” FMC Technologies Inc. v. OneSubsea,

412 F.Supp.3d 706 at 712 (emphasis added).




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       Other courts across the country have also recognized that the on-sale bar provision of

Section 102(b) only applies to an inventor’s prior sale, not a third party’s, because that promotes

the public policy of preventing “an inventor from profiting the commercial use of an invention for

a prolonged period before filing a patent application claiming that invention.” Medicines, 827

F.3d at 1372. For example, in Medtronic, the Central District of California noted that the patent

challenger “cannot establish invalidity under the on-sale bar because … Dr. Ing’s use otherwise

cannot implicate the on-sale bar as a matter of law…. Dr. Ing’s use of rapid pacing cannot implicate

the on-sale bar as a matter of law because he was a third party and not the patentee.” Medtronic

Inc. v. Edwards Lifesciences Corp. et al., 2013 WL 12113417 (C.D. Cal., Sept. 17, 2013)

(emphasis added). Because the sale was made by a third party, the Medtronic court granted

summary judgment of no invalidity due to on-sale bar. Id.

       Similarly, in Schlumberger v. BICO, another court in S.D. Texas rejected an on-sale bar

where the sale was not made by the patentee. In doing so, the court noted that “[a]pplying the on-

sale bar in this case would not further the policy of preventing an inventor from profiting from the

commercial use of an invention for a prolonged period before filing a patent application claiming

that invention. The court therefore turns to the public use provision.” Schlumberger Technology

Corporation v. BICO Drilling Tools, Inc., 2019 WL 2450948 (S.D. Tex., June 12, 2019) (rejecting

the invalidity argument under the on-sale bar provision of Section 102(b)) (internal citation omitted

and emphasis added). 1



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  In its brief, ProFrac relies on Atlanta Attachment, but even this case holds that on sale bar applies
to only sales made by the patentee (not a third party). In Atlanta Attachment, the Federal Circuit
stated “[o]ur patent laws deny a patent to an inventor who applies for a patent more than one year

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       Finding no basis under the “on-sale” provision of Section 102(b), ProFrac pivots to “public

use” and “knowledge” prong of Section 102(b). But it forgets that confidential use by a third party

do not create a public use bar. The Federal Circuit recognized this longstanding principle in BASF

when it held secret or confidential “exploitation by a third party does not create a public-use bar.”

BASF Corp. v. SNF Holding Co., 955 F.3d 958 at 967-68 (Fed. Cir. 2020) (reversing a finding of

invalidity based on “public use” and “on sale” provisions of Section 102(b) where the alleged prior

use was confidential and the sale was not a commercial offer for sale).




III.   CONCLUSION

       For the foregoing reasons, the Court should grant Halliburton’s motion for partial summary

judgment of no invalidity due to on-sale bar.


 Dated: August 8, 2024                  Respectfully submitted,

                                        By: /s/ Roger Fulghum
                                        Roger Fulghum
                                        Texas Bar No. 00790724
                                        Michael A. Hawes (pro hac vice)
                                        Texas Bar No. 24010761
                                        Jennifer Carter
                                        Texas State Bar No. 24105580
                                        Lindsay Volpenhein Cutié (pro hac vice)


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                        Texas Bar No. 24093305
                        BAKER BOTTS L.L.P.
                        910 Louisiana Street
                        Houston, Texas 77002-4995
                        Telephone: (713) 229-1234
                        Facsimile: (713) 229-1522
                        roger.fulghum@bakerbotts.com
                        michael.hawes@bakerbotts.com
                        jennifer.carter@bakerbotts.com
                        lindsay.cutie@bakerbotts.com


                        Susan Cannon Kennedy (pro hac vice)
                        Texas Bar No. 24051663
                        BAKER BOTTS L.L.P.
                        2001 Ross Avenue, Suite 900
                        Dallas, Texas 75201-2980
                        Telephone: (214) 953-6500
                        Facsimile: (214) 661-4816
                        susan.kennedy@bakerbotts.com
                        David J. Tobin
                        Texas Bar No. 24060735
                        MCDERMOTT WILL & EMERY LLP
                        2501 North Harwood Street, Suite 1900
                        Dallas, Texas 75201-1664
                        Telephone: (214) 210-2793
                        dtobin@mwe.com
                        Syed K. Fareed
                        Texas Bar No. 24065216
                        Alex T. Piala
                        Texas Bar No. 24110223
                        MCDERMOTT WILL & EMERY LLP
                        300 Colorado Street, Suite 2200
                        Austin, Texas 78701-4078
                        Telephone: (512) 726-2579
                        sfareed@mwe.com
                        apiala@mwe.com
                        Jordan A. Kazlow (pro hac vice)
                        Texas Bar No. 24101994
                        MCDERMOTT WILL & EMERY LLP
                        845 Texas Avenue, Suite 4000
                        Houston, Texas 77002-1656
                        Telephone: (713) 653-1700
                        jkazlow@mwe.com



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                                       Mark D. Siegmund
                                       Texas Bar No. 24117055
                                       CHERRY JOHNSON SIEGMUND JAMES, PLLC
                                       400 Austin Ave., 9th Floor
                                       Waco, Texas 76701
                                       Telephone: (254) 732-2242
                                       Facsimile: (866) 627-3509
                                       msiegmund@cjsjlaw.com
                                       Deron R. Dacus
                                       Texas Bar No. 00790553
                                       THE DACUS FIRM, P.C.
                                       821 ESE Loop 323, Suite 430
                                       Tyler, Texas 75701
                                       903-705-1117 (phone)
                                       903-581-2543 (fax)
                                       ddacus@dacusfirm.com
                                       Andrea L. Fair
                                       Texas Bar No. 24078488
                                       WARD, SMITH & HILL, PLLC
                                       1507 Bill Owens Parkway
                                       Longview, Texas 75604
                                       andrea@wsfirm.com

                                       ATTORNEYS FOR PLAINTIFFS
                                       HALLIBURTON ENERGY SERVICES, INC.,
                                       HALLIBURTON US TECHNOLOGIES, INC.,
                                       HALLIBURTON GROUP TECHNOLOGIES, INC. ,
                                       AND
                                       HALLIBURTON TECHNOLOGY PARTNERS, LLC




                               CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2024, the foregoing was filed electronically and served

on all counsel of record.

                                                     /s/Roger Fulghum
                                                     Roger Fulghum




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